Case 2:19-cv-10847-RGK-AS Document 12 Filed 02/07/20 Page 1 of 23 Page ID #:100




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     PUBLIC STORAGE
12
                                  UNITED STATES DISTRICT COURT
13
                                 CENTRAL DISTRICT OF CALIFORNIA
14
                                          WESTERN DIVISION
15

16   SYMBOLOGY INNOVATIONS LLC,                          Case No. 2:19-CV-10847- RGK

17                 Plaintiff,                            DEFENDANT’S ANSWER,
                                                         AFFIRMATIVE DEFENSES, AND
18          v.                                           COUNTERCLAIMS TO PLAINTIFF’S
     PUBLIC STORAGE,                                     COMPLAINT
19
                   Defendant.                            JURY TRIAL DEMANDED
20

21

22          Public Storage (“Defendant”) files this Answer, Affirmative Defenses, and Counterclaims

23   to Plaintiff Symbology Innovations LLC’s (“Plaintiff” or “Symbology”) Complaint for Patent

24   Infringement (“Complaint”). Public Storage denies the allegations and characterizations in

25   Plaintiff’s Complaint unless expressly admitted in the following paragraphs.

26          1.      Public Storage admits that a purported copy of U.S. Patent No. 8,424,752 (the

27   “’752 Patent”) is attached to the Complaint as Exhibit A. Public Storage denies it has committed

28
                                                     1   DEFENDANT’S ANSWER AND COUNTERCLAIMS
                                                                             Case No. 2:19-CV-10847
Case 2:19-cv-10847-RGK-AS Document 12 Filed 02/07/20 Page 2 of 23 Page ID #:101




 1   or is committing acts of infringement such that Plaintiff is entitled to any relief from Public

 2   Storage. Public Storage denies any remaining allegations in Paragraph 1 of the Complaint.

 3                                       NATURE OF THE ACTION
 4           2.      Public Storage admits that the Complaint purports to set forth an action for patent

 5   infringement under the Patent Laws of the United States, 35 U.S.C. § 1, et seq., including 35

 6   U.S.C. § 271. Public Storage denies any remaining allegations in Paragraph 2 of the Complaint.

 7                                              THE PARTIES
 8           3.      Public Storage is without knowledge or information sufficient to form a belief as to

 9   the truth of the allegations in Paragraph 3 of the Complaint.

10           4.      Public Storage admits it is a Maryland real estate investment trust established in the

11   State of Maryland, it has a place of business in Glendale, California, and it may be served by its

12   registered agent The Corporation Trust Incorporated, 2405 York Road, Suite 201, Lutherville

13   Timonium, MD 21093. Public Storage denies any remaining allegations in Paragraph 4 of the

14   Complaint.

15                                     JURISDICTION AND VENUE
16           5.      Public Storage admits that the Complaint purports to set forth an action for

17   infringement under the Patent Laws of the United States, 35 U.S.C. § 101, et seq., and that this

18   Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 1332,
19   1338(a), and 1367 because Plaintiff has alleged infringement of a patent, but Public Storage denies

20   it has committed or is committing acts of infringement and denies Plaintiff is entitled to any relief.

21   Public Storage denies any remaining allegations in Paragraph 5 of the Complaint.

22           6.      Public Storage does not contest whether personal jurisdiction over it properly lies

23   in this District in this action, or that it conducts business in the State of California. Public Storage

24   denies it has committed and/or is committing acts of infringement within the State of California,

25   on that basis, denies the remaining allegations of Paragraph 6 of the Complaint.
26           7.      Public Storage does not contest that it conducts business in the State of California.

27   Public Storage denies it has committed or is committing acts of infringement within the State of

28
                                                       2     DEFENDANT’S ANSWER AND COUNTERCLAIMS
                                                                                 Case No. 2:19-CV-10847
Case 2:19-cv-10847-RGK-AS Document 12 Filed 02/07/20 Page 3 of 23 Page ID #:102




 1   California or in this District and, on that basis, denies the remaining allegations of Paragraph 7 of

 2   the Complaint.

 3           8.       Public Storage does not contest that venue may be proper in this District in this

 4   action. Public Storage denies it has committed or is committing acts of infringement within the

 5   State of California or in this District and, on that basis, denies the remaining allegations of

 6   Paragraph 8 of the Complaint.

 7                                            PATENT-IN-SUIT
 8           9.       Public Storage admits that the ’752 Patent speaks for itself but denies any

 9   characterizations inconsistent therewith and, on that basis, denies any remaining allegations in

10   Paragraph 9 of the Complaint.

11           10.      Public Storage admits that the ’752 Patent speaks for itself but denies any

12   characterizations inconsistent therewith and, on that basis, denies any remaining allegations in

13   Paragraph 10 of the Complaint.

14                                   [ALLEGED] ACCUSED PRODUCT
15           11.      Public Storage admits that a Quick Response (QR) code appears on its products.

16   Public Storage denies that it has committed or is committing acts of infringement in this District or

17   elsewhere and, on that basis, denies any remaining allegations in Paragraph 11 of the Complaint.

18                                        [PLAINTIFF’S] COUNT I
19           12.      Public Storage incorporates by reference its responses in Paragraphs 1-11 above as

20   if fully set forth herein.

21           13.      Public Storage is without knowledge or information sufficient to form a belief as to

22   the truth of the allegations in Paragraph 13 of the Complaint and, on that basis, denies all such

23   allegations.

24           14.      Public Storage is without knowledge or information sufficient to form a belief as to

25   the truth of the allegations in Paragraph 14 of the Complaint and, on that basis, denies all such
26   allegations.

27           15.      Public Storage denies the allegations in Paragraph 15 of the Complaint.

28
                                                      3     DEFENDANT’S ANSWER AND COUNTERCLAIMS
                                                                                Case No. 2:19-CV-10847
Case 2:19-cv-10847-RGK-AS Document 12 Filed 02/07/20 Page 4 of 23 Page ID #:103




 1                               [ALLEGED] DIRECT INFRINGEMENT
 2           16.    Public Storage denies the allegations in Paragraph 16 of the Complaint.

 3           17.    Public Storage denies the allegations in Paragraph 17 of the Complaint.

 4                              [ALLEGED] INDUCED INFRINGEMENT
 5           18.    Public Storage denies the allegations in Paragraph 18 of the Complaint.

 6           19.    Public Storage denies the allegations in Paragraph 19 of the Complaint.

 7           20.    Public Storage denies the allegations in Paragraph 20 of the Complaint.

 8                         [ALLEGED] CONTRIBUTORY INFRINGEMENT
 9           21.    Public Storage denies the allegations in Paragraph 21 of the Complaint.

10           22.    Public Storage denies the allegations in Paragraph 22 of the Complaint.

11                              [ALLEGED] WILLFUL INFRINGEMENT
12           23.    Public Storage denies the allegations in Paragraph 23 of the Complaint.

13                        PLAINTIFF [ALLEGEDLY] SUFFERED DAMAGES
14           24.    Public Storage denies that it has committed or is committing acts of infringement in

15   this District or elsewhere and, on that basis, denies the allegations in Paragraph 24 of the

16   Complaint.

17                              [PLAINTIFF’S] REQUEST FOR RELIEF
18           25.    Public Storage denies that Plaintiff is entitled to any relief from Public Storage and
19   denies all the allegations contained in Paragraphs (a)-(f) of Plaintiff’s Request for Relief.

20                                      AFFIRMATIVE DEFENSES
21           Public Storage’s Affirmative Defenses are listed below. Public Storage reserves the right to

22   amend its answer to add additional Affirmative Defenses consistent with the facts discovered in

23   this action.

24                                  FIRST AFFIRMATIVE DEFENSE
25           Public Storage has not infringed and does not infringe, under any theory of infringement
26   (including directly (whether individually or jointly) or indirectly (whether contributorily or by

27   inducement)), any valid, enforceable claim of the ’752 Patent.

28
                                                      4     DEFENDANT’S ANSWER AND COUNTERCLAIMS
                                                                                Case No. 2:19-CV-10847
Case 2:19-cv-10847-RGK-AS Document 12 Filed 02/07/20 Page 5 of 23 Page ID #:104




 1                                  SECOND AFFIRMATIVE DEFENSE
 2          Each asserted claim of the ’752 Patent is invalid for failure to comply with one or more of

 3   the requirements of the United States Code, Title 35, including without limitation, 35 U.S.C. §§

 4   101, 102, 103, and 112, and the rules, regulations, and laws pertaining thereto.

 5                                   THIRD AFFIRMATIVE DEFENSE
 6          Plaintiff’s attempted enforcement of the ’752 Patent against Public Storage is barred by the

 7   doctrine of inequitable conduct.

 8                                  FOURTH AFFIRMATIVE DEFENSE
 9          To the extent that Plaintiff and any predecessors in interest to any of the ’752 Patent failed

10   to properly mark any of their relevant products or materials as required by 35 U.S.C. § 287, or

11   otherwise give proper notice that Public Storage’s actions allegedly infringe the ’752 Patent,

12   Public Storage is not liable to Plaintiff for the acts alleged to have been performed before it

13   received actual notice that it was allegedly infringing the ’752 Patent.

14                                   FIFTH AFFIRMATIVE DEFENSE
15          To the extent that Plaintiff asserts that Public Storage indirectly infringes, either by

16   contributory infringement or inducement of infringement, Public Storage is not liable to Plaintiff

17   for the acts alleged to have been performed before Public Storage knew that its actions would

18   cause indirect infringement.
19                                   SIXTH AFFIRMATIVE DEFENSE
20          Plaintiff’s attempted enforcement of the ’752 Patent against Public Storage is barred by

21   one or more of the equitable doctrines of estoppel, acquiescence, waiver, and unclean hands.

22                                  SEVENTH AFFIRMATIVE DEFENSE
23          The claims of the ’752 Patent are not entitled to a scope sufficient to encompass any

24   system employed or process practiced by Public Storage.

25                                  EIGHTH AFFIRMATIVE DEFENSE
26          Plaintiff’s Complaint fails to state a claim upon which relief can be granted because,

27   among other things, Plaintiff has not stated a plausible allegation that Public Storage makes, uses,

28
                                                     5     DEFENDANT’S ANSWER AND COUNTERCLAIMS
                                                                               Case No. 2:19-CV-10847
Case 2:19-cv-10847-RGK-AS Document 12 Filed 02/07/20 Page 6 of 23 Page ID #:105




 1   or sells each claimed element of any asserted claim, or that Public Storage directs or controls

 2   another entity to make, use, or sell any element that is not made, used, or sold by Public Storage.

 3                                  NINTH AFFIRMATIVE DEFENSE
 4          To the extent Plaintiff contends that it alleges a claim for indirect infringement (whether by

 5   inducement or contributorily), Plaintiff has failed to state a claim upon which relief can be

 6   granted.

 7                                 TENTH AFFIRMATIVE DEFENSE
 8          Plaintiff’s Complaint fails to state a claim upon which relief can be granted because the

 9   ’752 Patent does not claim patentable subject matter under 35 U.S.C. § 101.

10                               ELEVENTH AFFIRMATIVE DEFENSE
11          Plaintiff’s Complaint fails to state a claim upon which relief can be granted because,

12   among other things, Plaintiff has not stated a plausible allegation that any method employed by

13   Public Storage: (1) captures a digital image; (2) detects symbology associated with an object

14   within the digital image; (3) decodes the symbology to obtain a decode string; (4) sends the

15   decode string to a remote server for processing; (5) receives information about the object from the

16   remote server wherein the information is based on the decode string of the object; and/or (6)

17   displays the information on a display device associated with the portable electronic device.

18                             PUBLIC STORAGE’S COUNTERCLAIMS
19          For its counterclaims against Plaintiff Symbology Innovations, LLC (“Symbology”),

20   Counterclaim Plaintiff Public Storage (“Public Storage”) alleges as follows:

21                                                PARTIES
22          1.      Counterclaim Plaintiff Public Storage is a Maryland real estate investment trust

23   organized and existing under the laws of the State of California, with its principal place of

24   business located at 701 Western Avenue, Glendate, California 91201.

25          2.      Upon information and belief based solely on Paragraph 3 of the Complaint as pled
26   by Plaintiff, Counterclaim Defendant Symbology is a limited liability company organized and

27

28
                                                     6     DEFENDANT’S ANSWER AND COUNTERCLAIMS
                                                                               Case No. 2:19-CV-10847
Case 2:19-cv-10847-RGK-AS Document 12 Filed 02/07/20 Page 7 of 23 Page ID #:106




 1   existing under the laws of the State of Texas, and maintains its principal place of business at 1400

 2   Preston Road, Suite 400, Plano, Texas 75093.

 3                                             JURISDICTION
 4          3.      Public Storage incorporates by reference Paragraphs 1–2 above.

 5          4.      These counterclaims arise under the patent laws of the United States, Title 35,

 6   United States Code. The jurisdiction of this Court is proper under at least 35 U.S.C. § 271 et seq.,

 7   and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.

 8          5.      Symbology has consented to the personal jurisdiction of this Court at least by

 9   commencing its action for patent infringement in this District, as set forth in its Complaint.

10          6.      Based solely on Symbology’s filing of this action, venue is proper, though not

11   necessarily convenient, in this District pursuant at least 28 U.S.C. §§ 1391 and 1400.

12                                                 COUNT I
13                      DECLARATION REGARDING NON-INFRINGEMENT
14          7.      Public Storage incorporates by reference Paragraphs 1–6 above.

15          8.      Based on Symbology’s filing of this action and at least Public Storage’s First

16   Affirmative Defense, an actual controversy has arisen and now exists between the parties as to

17   whether Public Storage infringes U.S. Patent No. 8,424,752 (the “’752 Patent”).

18          9.      Public Storage does not infringe at least Claim 1 of the ’752 Patent because, among
19   other things, it does not “use” or “test” any method or system that: (i) captures a digital image, (ii)

20   detects symbology associated with an object within the digital image, (iii) decodes the symbology

21   to obtain a decode string, (iv) sends the decode string to a remote server for processing, (v)

22   receives information about the digital image from the remote server wherein the information is

23   based on the decode string, and/or (vi) displays the information on a display device associated

24   with the electronic device.

25          10.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq., Public
26   Storage requests a declaration by the Court that Public Storage has not infringed and does not

27

28
                                                      7     DEFENDANT’S ANSWER AND COUNTERCLAIMS
                                                                                Case No. 2:19-CV-10847
Case 2:19-cv-10847-RGK-AS Document 12 Filed 02/07/20 Page 8 of 23 Page ID #:107




 1   infringe any claim of the ’752 Patent under any theory (including directly (whether individually or

 2   jointly) or indirectly (whether contributorily or by inducement)).

 3                                                COUNT II
 4                            DECLARATION REGARDING INVALIDITY
 5          11.     Public Storage incorporates by reference Paragraphs 1–10 above.

 6          12.     Based on Symbology’s filing of this action and at least Public Storage’s Second

 7   Affirmative Defense, an actual controversy has arisen and now exists between the parties as to the

 8   validity of the claims of the ’752 Patent.

 9          13.     The asserted claims of the ’752 Patent are anticipated and/or rendered obvious by,

10   inter alia, BarPoint.com; Neomedia’s Neo Reader; Microsoft’s Smart Tags; Android’s Shop

11   Savvy; Red Laser; ScanBuy; U.S. Serial No. 60/118,051; U.S. Serial No. 60/187,646; U.S. Serial

12   No. 60/185,546; U.S. Patent Application 2008/0004978; U.S. Patent No. 6,430,554; and/or U.S.

13   Patent No. 6,651,053.

14          14.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq., Public

15   Storage requests a declaration by the Court claims of the ’752 Patent are invalid for failure to

16   comply with one or more of the requirements of United States Code, Title 35, including without

17   limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and laws pertaining

18   thereto.
19                                                COUNT III
20                      DECLARATION REGARDING UNENFORCEABILITY
21                                 DUE TO INEQUITABLE CONDUCT
22          15.     Public Storage incorporates by reference Paragraphs 1–14 above.

23          16.     Based on Symbology’s filing of this action and at least Public Storage’s Third

24   Affirmative Defense, an actual controversy has arisen and now exists between the parties as to the

25   enforceability of the claims of the ’752 Patent.
26          17.     The named inventor, Leigh Rothschild, had knowledge of material, non-cumulative

27   prior art regarding the ’752 Patent and, on information and belief, deliberately withheld the

28
                                                        8   DEFENDANT’S ANSWER AND COUNTERCLAIMS
                                                                                Case No. 2:19-CV-10847
Case 2:19-cv-10847-RGK-AS Document 12 Filed 02/07/20 Page 9 of 23 Page ID #:108




 1   material, non-cumulative prior art from disclosure to the United States Patent and Trademark

 2   Office (“USPTO”) during prosecution of the ’752 Patent with the intent to deceive the examiner

 3   and the USPTO.

 4            18.   On information and belief, representatives associated with the filing and

 5   prosecution of the applications for the ’752 Patent, had knowledge of material, non-cumulative

 6   prior art regarding the ’752 Patent and, on information and belief, deliberately withheld the

 7   material, non-cumulative prior art from disclosure to the USPTO with the intent to deceive the

 8   examiner and the USPTO.

 9            19.   Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq., Public

10   Storage requests a declaration by the Court that all claims of the ’752 Patent are unenforceable due

11   to inequitable conduct because one or more of the individuals referenced above, with the intent to

12   deceive the USPTO, failed to comply with the duty of candor to the USPTO, as set forth in 37

13   C.F.R. § 1.56, during prosecution of the applications that led to the issuance of the ’752 Patent.

14   A.       Background Facts Relating to Counterclaim of Unenforceability
15            1.    At the Time of Prosecution, Mr. Rothschild was Aware of Material, Non-
                    Cumulative Prior Art Related to Barcode Symbology, Including His Own
16                  BarPoint System and Related Patents.
17            20.   On information and belief, due to his long involvement with filing and prosecuting

18   patent applications, Mr. Rothschild is familiar with policies and practices of the USPTO and its
19   procedures, including its duty of candor. In particular, according to his personal LinkedIn page,

20   Mr. Rothschild:

21                  is an established inventor who to date has been issued more then
                    [sic] eighty US patents and has more than 150 patents pending
22                  worldwide. Mr. Rothschild’s first patent was conceived when he
                    was 17 years of age and granted shortly thereafter.
23

24   Ex. A.
25            21.   Moreover, Mr. Rothschild has long been familiar with prosecuting patents in the
26   same field as Symbology’s characterization of the ’752 Patent, which Symbology alleges relates to
27

28
                                                     9     DEFENDANT’S ANSWER AND COUNTERCLAIMS
                                                                               Case No. 2:19-CV-10847
Case 2:19-cv-10847-RGK-AS Document 12 Filed 02/07/20 Page 10 of 23 Page ID #:109




 1   barcode symbology, namely “Quick Response Codes (QR codes).” In an online profile, Mr.

 2   Rothschild was quoted as saying:

 3                  I have 60 patents—from computer servers to medical to 3D displays.
                    Most of my inventions are related to technology, such as the method
 4                  of tying QR codes to the internet….
 5   Ex. B.

 6                  a.     The Undisclosed BarPoint System

 7            22.   Mr. Rothschild’s involvement with barcode technology dates back almost two

 8   decades. On information and belief, in order to make money at alleged inventing, in the late 1990s

 9   and early 2000s, Mr. Rothschild started a few businesses, including BarPoint.com.

10            23.   According to BarPoint.com’s 2001 Annual Report filed with the SEC:

11                  BarPoint is an online and wireless product information and shopping
                    service provider which also develops mobile device software
12                  applications for consumers and businesses. BarPoint’s product
                    information and shopping service platform utilizes patent pending
13
                    reverse search technology to enable users to search for product
14                  information using unique product identifiers, including universal
                    product codes, known as UPCs or barcode numbers, catalog
15                  numbers and SKU numbers.

16   Ex. C.
17            24.   On information and belief, Mr. Rothschild was deeply involved in the affairs of
18   BarPoint.com. In addition to being its founder, he served as Chairman of its Board of Directors
19   from 1998 through 2004. During a portion of that time he also served as its Chief Executive
20   Officer. See Ex. A.
21            25.   The primary technology that BarPoint.com employed involved scanning a barcode
22   with a handheld mobile device and transmitting the decoded barcode information over the Internet
23   in order to search for product information (the “BarPoint.com system”). According to
24   BarPoint.com’s 1999 Annual Report filed with the SEC:
25                  BarPoint has developed and recently launched a comparative
                    shopping and consumer information Internet site utilizing
26                  proprietary reverse search technology that enables consumers to
27                  search the Internet for product-specific information using universal
                    product codes, known as UPCs or barcode numbers…. The BarPoint
28
                                                  10     DEFENDANT’S ANSWER AND COUNTERCLAIMS
                                                                             Case No. 2:19-CV-10847
Case 2:19-cv-10847-RGK-AS Document 12 Filed 02/07/20 Page 11 of 23 Page ID #:110




 1                  service can be accessed from a desktop computer or a wide variety
                    of Internet-enabled handheld mobile devices, such as personal
 2                  digital assistants (PDAs), interactive pagers and cell phones. By
                    typing or scanning the barcode number that manufacturers attach to
 3
                    their products, consumers gain access to a variety of information
 4                  gathered by BarPoint on the specific product….

 5                  ***
                    On December 6, 1999, we launched a preview version of our
 6                  website, www.barpoint.com, which features a patent-pending search
                    engine and software technology that allows consumers to use the
 7
                    standard UPC barcode number that appears on what we believe to be
 8                  more than 100 million retail items to search for product-specific
                    information from and shop for products on the Internet.
 9
                    ***
10

11                  The BarPoint technology can be accessed via the Internet at
                    www.barpoint.com from desktops or handheld wireless devices. It is
12                  presently available on a variety of hand-held and wireless devices
                    including the Palm VII from 3COM/Palm Computing, interactive
13                  pagers such as those from Research In Motion, and the SPT 1500, a
                    Palm VII with a built-in scanning device, manufactured by Symbol
14                  Technologies.
15
                    ***
16
                    The BarPoint service is available through accessing
17                  www.barpoint.com through which UPC barcode number searches
                    can be executed by simply typing or scanning in a UPC barcode
18                  number.
19
     See Ex. D.
20
            26.     The BarPoint system, publicly known, offered for sale, and used around 1999, is
21
     substantially similar to the alleged infringing activity of the ’752 Patent as characterized by
22
     Symbology in its Complaint:
23
                    The Patent-in-Suit teaches systems and methods for enabling a
24                  portable electronic device … to retrieve information about an object
                    when the object’s symbology … is detected.
25
     See, e.g., Compl., ¶ 9.
26
            27.     As shown in the claim chart attached hereto as Exhibit E, the BarPoint system
27
     anticipates and/or renders obvious each and every element of Claim 1 of the ’752 Patent under
28
                                                    11     DEFENDANT’S ANSWER AND COUNTERCLAIMS
                                                                               Case No. 2:19-CV-10847
Case 2:19-cv-10847-RGK-AS Document 12 Filed 02/07/20 Page 12 of 23 Page ID #:111




 1   Symbology’s characterization of the ’752 Patent’s scope, and thus is material and not cumulative

 2   to the information already of record during the prosecution of the ’752 Patent and related

 3   applications.

 4                     b.      The Undisclosed Rothschild Patents
 5            28.      In addition to his firsthand involvement with BarPoint.com, Mr. Rothschild was

 6   identified as the sole named inventor for at least three provisional applications that disclosed the

 7   BarPoint.com system, including:

 8      (a)         U.S. Serial No. 60/118,051 (“’051 provisional application”), filed February 1, 1999,

 9                  and entitled “Interactive Method for Investigating Products”;

10      (b)         U.S. Serial No. 60/187,646 (“’646 provisional application”), filed March 8, 2000, and

11                  entitled “Interactive System for Investigating Products on a Network Through a Mobile

12                  Device”; and

13      (c)         U.S. Serial No. 60/185,546 (“’546 provisional application”), filed February 28, 2000,

14                  and entitled “Method of Verifying Barcode/UPC Numbers or Other Symbologies and

15                  Linking Such Numbers to Information on a Global Computer Network.”

16            29.      On information and belief, the ’051 provisional application became publicly

17   available, such as through the USPTO’s public PAIR website, more than one year prior to the

18   September 15, 2010 earliest effective filing date of the ’752 Patent, because later patent
19   applications published and/or granted claimed priority to them. See Manual for Patent

20   Examination Procedure (MPEP) 103 (citing 37 CFR 1.14(a)(1)(iv)–(vi)). The ’051 provisional

21   application is attached hereto as Exhibit F.

22            30.      The following disclosures in the ’051 provisional application confirm that the

23   BarPoint system was offered for sale and publicly used prior to the filing dates of the ’051

24   provisional application:

25
26

27

28
                                                      12     DEFENDANT’S ANSWER AND COUNTERCLAIMS
                                                                                 Case No. 2:19-CV-10847
Case 2:19-cv-10847-RGK-AS Document 12 Filed 02/07/20 Page 13 of 23 Page ID #:112




 1                The ’051 provisional application provides a printout from www.barpoint.com
 2   entitled “Advertising Barcode,” dated January 20, 1999, and shows:

 3

 4

 5                Another printout in the ’051 provisional application from www.barpoint.com entitled
 6   “Advertising Barcode Demo,” dated January 20, 1999, shows:

 7

 8

 9

10

11

12

13                Another printout in the ’051 provisional application from www.barpoint.com entitled
14   “Link to Your Product’s Website,” dated January 20, 1999, shows:
15

16

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                                                 13     DEFENDANT’S ANSWER AND COUNTERCLAIMS
                                                                            Case No. 2:19-CV-10847
Case 2:19-cv-10847-RGK-AS Document 12 Filed 02/07/20 Page 14 of 23 Page ID #:113




 1   Ex. F.

 2            31.   Based on the provisional application’s disclosures and Mr. Rothschild’s firsthand

 3   involvement with BarPoint.com, it was known to Mr. Rothschild and/or the representatives

 4   associated with the filing and prosecution of the applications for the ’752 Patent, that the BarPoint

 5   system described in the provisional applications was offered for sale and publicly used prior to the

 6   filing dates of the provisional applications.

 7            32.   Mr. Rothschild’s representatives subsequently filed several non-provisional

 8   applications that claim priority to the ’051, ’646, and ’546 provisional applications, including the

 9   applications for U.S. Patent No. 6,430,554 (“’554 Patent”), which issued on August 6, 2002, and

10   U.S. Patent No. 6,651,053 (“’053 Patent”), which issued on November 18, 2003, each of which

11   names Mr. Rothschild as the sole inventor. These patents are attached hereto as Exhibits G and H.

12            33.   On June 30, 2006, Mr. Rothschild filed U.S. Patent Application 2008/0004978

13   (“’978 application”) with the USPTO. The ’978 application was published January 3, 2008, and is

14   attached hereto as Exhibit I.

15            34.   The ’978 application disclosed “a system and method … for identifying an article

16   of commerce, e.g., digital media content, and downloading all or part of content related to the

17   article of commerce to mobile devices such as portable digital media players and/or mobile phone

18   devices” over the Internet. Id., ¶¶ 0007, 0035. The ’978 application further disclosed capturing a
19   barcode and decoding the barcode in order to acquire an identification code of the article of

20   commerce:

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22

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                                                     14    DEFENDANT’S ANSWER AND COUNTERCLAIMS
                                                                               Case No. 2:19-CV-10847
Case 2:19-cv-10847-RGK-AS Document 12 Filed 02/07/20 Page 15 of 23 Page ID #:114




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10   Id., ¶ 0037.

11          35.     The ’051, ’646, and ’546 provisional applications, the ’978 application, and the

12   ’554 and ’053 Patents (collectively, the “Rothschild Patents”), each anticipate and/or render

13   obvious each and every element of Claim 1 of the ’752 Patent under Symbology’s characterization

14   of the alleged infringing activity, as shown in the exemplary claim chart for the BarPoint system,

15   the ’978 application, and the ’554 Patent, attached hereto as Exhibits E, J, and K, and thus the

16   Rothschild Patents prior art is material and not cumulative to the information already of record

17   during the prosecution of the ’752 Patent and related applications.

18                  c.      Other Material Prior Art
19          36.     Mr. Rothschild noted in the ’752 Patent’s specification that “[s]ome applications

20   that may be downloaded to portable electronic devices include symbology scanning and/or

21   decoding programs [including] Neomedia’s Neo Reader, Microsoft’s Smart Tags, Android’s Shop

22   Savvy, Red Laser, ScanBuy, etc.” Ex. L (’752 Pat., 3:29–33).

23          37.     Mr. Rothschild, however, indicated only that these prior art systems “scan[]” or

24   “decode[],” but notably failed to disclose to the USPTO that these prior art systems also capture a

25   digital image of a barcode and send decoded information (such as a URL) to a remote server to

26   retrieve information for display (such as a web page).

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                                                    15    DEFENDANT’S ANSWER AND COUNTERCLAIMS
                                                                              Case No. 2:19-CV-10847
Case 2:19-cv-10847-RGK-AS Document 12 Filed 02/07/20 Page 16 of 23 Page ID #:115




 1           38.      As shown in the claim charts attached as Exhibits M and N, the prior art systems

 2   identified in the specification, but not fully disclosed by Mr. Rothschild, anticipate and/or render

 3   obvious each and every element of Claim 1 of the ’752 Patent under Symbology’s characterization

 4   of the alleged infringing activity, and thus full disclosure of the prior art systems is material and

 5   not cumulative to the information already of record during the prosecution of the Asserted Patent

 6   and related applications.

 7           2.       Mr. Rothschild Deliberately Withheld Material, Non-Cumulative Prior Art
                      References During Prosecution of the ’752 Patent and Related Applications.
 8

 9           39.      Despite Mr. Rothschild having deep knowledge of the BarPoint system, the

10   Rothschild Patents, and other material, non-cumulative prior art related to technology Symbology

11   alleges the ’752 Patent covers, Mr. Rothschild and/or the representatives associated with the filing

12   and prosecution of the application for the ’752 Patent did not submit or identify any prior art

13   during the prosecution of the ’752 Patent and related applications, nor did the prosecuting

14   attorney(s) submit to the examiner a single Information Disclosure Statement (IDS) identifying

15   any prior art.

16           40.      The BarPoint system, the Rothschild Patents, and the prior art systems identified in

17   the specification, are each material to patentability of the claims of the ’752 Patent and not merely

18   cumulative over the prior art that was before the examiner.
19           41.      Mr. Rothschild and/or the representatives associated with the filing and prosecution

20   of the application for the ’752 Patent, knew of the BarPoint system, the Rothschild Patents, and

21   the prior art systems identified in the specification, and, on information and belief, deliberately

22   failed to disclose the prior art to the USPTO in connection with prosecuting the applications for

23   the ’752 Patent, with the intent to deceive the examiner and the USPTO.

24           42.      Had Mr. Rothschild and/or the representatives associated with the filing and

25   prosecution of the application for the ’752 Patent made the examiner aware of the BarPoint
26   system, the Rothschild Patents, and that the prior art systems identified in the specification

27   anticipate and/or render obvious each and every element of the independent claims of the’752

28
                                                     16     DEFENDANT’S ANSWER AND COUNTERCLAIMS
                                                                                Case No. 2:19-CV-10847
Case 2:19-cv-10847-RGK-AS Document 12 Filed 02/07/20 Page 17 of 23 Page ID #:116




 1   Patent under Symbology’s characterization of the alleged infringing activity, the examiner would

 2   not have allowed the claims to issue.

 3          3.        By Withholding Material, Non-Cumulative Prior Art During Prosecution of
                      the ’752 Patent, Mr. Rothschild Intended to Deceive the USPTO.
 4
                      a.     Mr. Rothschild Lost His Interest in the BarPoint System and
 5                           Rothschild Patents in Late 2010.
 6          43.       The failure of Mr. Rothschild and/or the representatives associated with the filing

 7   and prosecution of the application for the ’752 Patent to disclose the BarPoint system and the

 8   Rothschild Patents prior art, as well as other material prior art, was with the intent to deceive the

 9   USPTO.

10          44.       Mr. Rothschild sought and obtained the Rothschild Patents claiming an alleged

11   invention by which a customer scans a barcode with a handheld mobile device, and transmits the

12   decoded barcode information over the Internet in order to retrieve product information on the

13   mobile device.

14          45.       Mr. Rothschild sought monetary gain through the founding of BarPoint.com by

15   assigning the Rothschild Patents to BarPoint.com in order to commercialize the alleged inventions

16   of the Rothschild Patents.

17          46.       According to SEC filings, BarPoint.com initially was not a commercial success:

18                    Revenue from [BarPoint.com’s wireless Internet software] business
                      was limited and decreased through 2002. In 2003, this business
19                    generated no revenue and we began searching to acquire another
                      business…. Effective in August 2004 Mr. Rothschild resigned as a
20
                      director of the Company.
21   Ex. O (2004 SEC Annual Report, Description of Business).
22          47.       On or about April 11, 2005, however, BarPoint.com sold the Rothschild Patents to
23   NeoMedia Technologies, Inc. in exchange for a cash payment and royalties in the amount of 10%
24   of licensing proceeds generated by NeoMedia for 10 years. Id. (Intellectual Property). On
25   information and belief, NeoMedia undertook an enforcement campaign that generated royalties
26   due under the agreement.
27

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                                                     17     DEFENDANT’S ANSWER AND COUNTERCLAIMS
                                                                                Case No. 2:19-CV-10847
Case 2:19-cv-10847-RGK-AS Document 12 Filed 02/07/20 Page 18 of 23 Page ID #:117




 1            48.     BarPoint.com’s successor-in-interest subsequently declared bankruptcy, and the

 2   Rothschild Trust, for which Mr. Rothschild was the managing member, purportedly purchased the

 3   rights to the licensing proceeds generated from the Rothschild Patents. See Ex. P (Settlement

 4   Agreement).1

 5            49.     On information and belief, Mr. Rothschild, and/or one or more entities he

 6   controlled, received compensation for licensing proceeds from the enforcement of the Rothschild

 7   Patents. Consequently, Mr. Rothschild remained deeply familiar with the BarPoint.com system

 8   and the Rothschild Patents, including their disclosures and claims.

 9            50.     On information and belief, Mr. Rothschild’s rights to benefit from the Rothschild

10   Patents ceased in late 2010, when he entered into a settlement agreement with NeoMedia

11   assigning all rights in the Rothschild Patents to NeoMedia.

12
                      b.     Mr. Rothschild’s Initial Attempt to Reclaim Technology Disclosed in
13                           BarPoint System and Other Undisclosed Prior Art was Rejected.
              51.     On September 15, 2010, Mr. Rothschild filed a patent application that ultimately
14
     issued as U.S. Patent No. 7,992,773 (the “’773 Patent”), entitled “System and Method for
15
     Presenting Information about an Object on a Portable Electronic Device,” attached as Exhibit Q.
16
     The ’752 Patent is a continuation of the application that led to the ’773 Patent and thus shares a
17
     common specification.
18
              52.     With at least one substantial exception, the general subject matter of the ’773
19
     Patent and the ’752 Patent is nearly identical to the BarPoint system and the Rothschild Patents.
20
     For example, the summary of the ’773 Patent states:
21
                      Systems and methods are provided for allowing a user to utilize a
22
                      portable electronic device to retrieve information about an object in
23                    response to the portable electronic device detecting symbology, e.g.,
                      a barcode, associated with the object.
24

25   Ex. Q, 1:56–60.

26

27   1
         Available publicly at: https://www.sec.gov/Archives/edgar/data/1022701/
28        000114420410066649/v205602_ex10-1.htm.
                                                     18     DEFENDANT’S ANSWER AND COUNTERCLAIMS
                                                                                Case No. 2:19-CV-10847
Case 2:19-cv-10847-RGK-AS Document 12 Filed 02/07/20 Page 19 of 23 Page ID #:118




 1          53.       However, the ’773 Patent’s specification notes alleged problems with prior art

 2   barcode scanning applications:

 3                    Some applications that may be downloaded to portable electronic
                      devices include symbology scanning and/or decoding programs.
 4                    Examples of applications that allow scanning include Neomedia's
                      Neo Reader, Microsoft’s Smart Tags, Android's Shop Savvy, Red
 5
                      Laser, ScanBuy, etc. However, when a user wishes to scan an
 6                    object, the user must then select an application on the portable
                      electronic device that is capable of accomplishing the desired
 7                    functions. Since a user may have dozens of applications loaded
                      on his or her portable electronic device, it may be difficult to
 8                    select the appropriate application for executing the scanning
                      functions.
 9

10   See, e.g., id., 3:20–30 (emphasis added).

11          54.       In the specification, Mr. Rothschild thus proposed a solution wherein the alleged

12   improvement over the prior art barcode scanning applications involves “one or more visual

13   detection systems [that] are run in the background of the device, where other programs or

14   systems are given priority with respect to processing steps over the one or more visual detection

15   systems.” Id., 11:63–66 (emphasis added). “If a background application detects decodable

16   symbology… the detected symbology is sent to one or more pre-selected visual detection

17   applications for decoding and information retrieval.” Id., 12:19–33 (emphasis added).

18          55.       Notwithstanding this purportedly inventive feature, Mr. Rothschild initially

19   attempted to prosecute independent claim 1 of the patent application that ultimately issued as the

20   ’773 Patent without this limitation and covering only that which BarPoint and other prior art

21   barcode scanning applications disclosed.

22          56.       At no point during the prosecution of the ’773 Patent or the continuation

23   applications did Mr. Rothschild disclose to the USPTO the BarPoint system, the Rothschild

24   Patents, or the full capabilities of the prior art barcode scanning applications identified in the

25   specification.

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                                                     19     DEFENDANT’S ANSWER AND COUNTERCLAIMS
                                                                                Case No. 2:19-CV-10847
Case 2:19-cv-10847-RGK-AS Document 12 Filed 02/07/20 Page 20 of 23 Page ID #:119




 1           57.     In the December 2010 Non-Final Rejection, the examiner rejected claim 1 under 35

 2   U.S.C. 102(b) as being anticipated by Fitzpatrick, et al. (2008/0201310) (“Fitzpatrick”), which

 3   disclosed all of the limitations in the originally-drafted version of claim 1:

 4

 5

 6   See Ex. R (’773 Pat. File History, Dec. 27, 2010 Non-Final Rejection at 2–3).

 7           58.     To overcome the December 2010 rejection, Mr. Rothschild narrowed claim 1 of the

 8   ’773 Patent to include the purportedly novel feature identified in the specification:

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25   See Ex. S (’773 Pat. File History, Jan. 13, 2011 Claim Amendment).
26           59.     In the March 2011 Notice of Allowance, the examiner expressly noted that the
27   prior art taught:
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                                                     20     DEFENDANT’S ANSWER AND COUNTERCLAIMS
                                                                                Case No. 2:19-CV-10847
Case 2:19-cv-10847-RGK-AS Document 12 Filed 02/07/20 Page 21 of 23 Page ID #:120




 1                  (a) detecting a symbology associated with an object;

 2                  (b) decoding the symbology to obtain a decode string;

 3                  (c) sending the decode string to a remote server for processing;

 4                  (d) receiving information from the server; and

 5                  (e) displaying the information on a display device.

 6   See Ex. T (’773 Pat. File History, Mar. 28, 2011 Notice of Allowance at 2–3).

 7           60.    In the March 2011 Notice of Allowance, the examiner confirmed that the purported

 8   “novelty” of the invention as allowed in Claim 1 of the ’773 Patent was the visual detection

 9   systems that run in the background and detect the symbology associated with an object:

10

11   Id. at 3.

12           61.    As a result of the patentee’s amendment to Claim 1, every independent claim of the

13   ’773 Patent includes the limitation in which a “background” visual detection system

14   “automatically” decodes “symbology” and sends the decode string to another “visual detection

15   application” residing on the portable device.

16                  c.      Mr. Rothschild Intentionally Omitted the Limitations Found in Claim 1
                            of the ’773 Patent During Prosecution of the ’752 Patent in Order to
17                          Recapture the Scope of the BarPoint.com System He No Longer
                            Controlled.
18
19           62.    Despite the purported novelty identified in the specification and by the examiner

20   during prosecution of the parent application, Mr. Rothschild and/or the representatives associated

21   with the filing and prosecution of the application for the ’752 Patent, undertook a concerted effort

22   to omit the limitation related to the alleged improvement that had been expressly included in

23   Claim 1 of the ’773 Patent in order to overcome the examiner’s rejection based on anticipation

24   grounds.

25           63.    Unlike Claim 1 of the ’773 Patent, the independent claims of the ’752 Patent do not
26   include the limitation that requires a “background” system that “decod[es] the symbology to

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                                                     21   DEFENDANT’S ANSWER AND COUNTERCLAIMS
                                                                              Case No. 2:19-CV-10847
Case 2:19-cv-10847-RGK-AS Document 12 Filed 02/07/20 Page 22 of 23 Page ID #:121




 1   obtain a decode string” and “send[s]the decode string to one or more visual detection applications

 2   for processing.”

 3          64.     On information and belief, Mr. Rothschild’s goal during prosecution of the ’752

 4   Patent and related applications was to broaden the independent claims in the continuation

 5   applications to recapture the scope of the invention related to the BarPoint system that he had

 6   assigned to NeoMedia and for which, as of 2010, he no longer had rights to exploit. Mr.

 7   Rothschild would not have been able to achieve this goal if he disclosed the BarPoint system, the

 8   Rothschild Patents, and the full capabilities of the prior art barcode scanning applications

 9   identified in the specification, to the examiner during the ’752 Patent’s prosecution before the

10   USPTO.

11          65.     Had Mr. Rothschild or the representatives associated with the filing and

12   prosecution of the applications for the ’752 Patent made the examiner aware of the undisclosed,

13   material, non-cumulative prior art in Mr. Rothschild’s possession, the examiner would not have

14   allowed the independent claims of the ’752 Patent to issue.

15          66.     Mr. Rothschild and/or the representatives associated with the filing and prosecution

16   of the application for the ’752 Patent intended to deceive the USPTO by intentionally failing to

17   disclose the BarPoint system, the Rothschild Patents, and the full capabilities of the prior art

18   barcode scanning applications identified in the specification, in order to recapture patent rights to
19   subject matter Mr. Rothschild no longer controlled.

20                                        PRAYER FOR RELIEF
21          WHEREFORE, Public Storage asks this Court to enter judgment in Public Storage’s favor

22   and against Symbology by granting the following relief:

23          a)      a declaration that the ’752 Patent is invalid;

24          b)      a declaration that Public Storage does not infringe, under any theory, any valid

25   claim of the ’752 Patent that may be enforceable;
26          c)      a declaration that the ’752 Patent is unenforceable;

27          d)      a declaration the Symbology take nothing by its Complaint;

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                                                    22     DEFENDANT’S ANSWER AND COUNTERCLAIMS
                                                                               Case No. 2:19-CV-10847
Case 2:19-cv-10847-RGK-AS Document 12 Filed 02/07/20 Page 23 of 23 Page ID #:122




 1          e)      judgment against Symbology and in favor of Public Storage;

 2          f)      dismissal of the Complaint with prejudice;

 3          g)      a finding that this action is an exceptional case under 35 U.S.C. § 285 and an award

 4   to Public Storage of its costs and attorneys’ fees incurred in this action; and

 5          h)      further relief as the Court may deem just and proper.

 6                                             JURY DEMAND
 7          Public Storage hereby demands trial by jury on all issues.

 8

 9   Dated: February 7, 2020                              FISH & RICHARDSON P.C.

10

11                                                        By: Rodeen Talebi
                                                              Rodeen Talebi
12
                                                          Attorneys for Defendant
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                                                          PUBLIC STORAGE
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                                                     23      DEFENDANT’S ANSWER AND COUNTERCLAIMS
                                                                                 Case No. 2:19-CV-10847
